              Case 2:90-cv-00520-KJM-SCR          Document 4763       Filed 08/23/13     Page 1 of 2


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             15                              UNITED STATES DISTRICT COURT
             16                              EASTERN DISTRICT OF CALIFORNIA
             17
             18 RALPH COLEMAN, et al.,                           Case No. Civ S 90-0520 LKK-JFM
             19                Plaintiffs,                       PLAINTIFFS’ APPLICATION TO
                                                                 EXCEED PAGE LIMIT FOR REPLY
             20         v.                                       IN SUPPORT OF MOTION FOR
                                                                 ENFORCEMENT OF COURT
             21 EDMUND G. BROWN, JR., et al.,                    ORDERS AND AFFIRMATIVE
                                                                 RELIEF REGARDING IMPROPER
             22                Defendants.                       HOUSING AND TREATMENT OF
                                                                 SERIOUSLY MENTALLY ILL
             23                                                  PRISONERS IN SEGREGATION
             24                                                  Judge: Hon. Lawrence K. Karlton
                                                                 Date: November 5, 2013
             25                                                  Time: 10:30 a.m.
                                                                 Crtrm: 4
             26
             27
             28
[915695-1]

                   PLS.’ APP. TO EXCEED PAGE LIMIT FOR REPLY ISO MOT. FOR ENFORCEMENT OF COURT ORDERS & AFFIRM.
                   RELIEF RE IMPROPER HOUSING & TREATMENT OF SERIOUSLY MENTALLY ILL PRISONERS IN SEGREGATION
              Case 2:90-cv-00520-KJM-SCR          Document 4763       Filed 08/23/13     Page 2 of 2


              1                                        APPLICATION
              2         Plaintiffs Ralph Coleman, et al. hereby apply for an order allowing Plaintiffs to
              3 exceed the page limit for their Reply in Support of Motion for Enforcement of Court
              4 Orders and Affirmative Relief re: Improper Housing and Treatment of Seriously Mentally
              5 Ill Prisoners in Segregation, filed concurrently herewith.
              6         Plaintiffs respectfully submit that good cause exists to allow them to exceed the
              7 fifteen (15) page limitation as set forth in the Honorable Judge Karlton’s standing order.
              8 Plaintiffs’ motion (Docket No. 4580, May 6, 2013),which requests relief on several critical
              9 deficiencies in Defendants’ segregation policies, procedures, and practices that Plaintiffs
             10 assert violate the rights of the Coleman class, was sixty-two (62) pages. The Court granted
             11 Plaintiffs’ application to exceed page limitations for that motion. Order, Docket No. 4584,
             12 May 7, 2013. Defendants’ opposition to Plaintiffs’ motion was forty (40) pages long.
             13 Properly responding to Defendants’ assertions and evidence regarding Defendants’ use of
             14 segregated housing units requires a comprehensive evidentiary and legal reply that will
             15 take more than the number of pages normally allotted. Plaintiffs seek enforcement of
             16 numerous court orders and affirmative relief on major issues affecting hundreds of class
             17 members. A proper presentation of this evidence requires more than the standard fifteen
             18 (15) page allotment.
             19         Plaintiffs therefore seek leave to file a Memorandum of Points and Authorities in
             20 Support of their Motion of 35 pages. Good cause exists for the Court to grant this
             21 Application.
             22
             23 DATED: August 23, 2013                   Respectfully submitted,
             24                                          ROSEN BIEN GALVAN & GRUNFELD LLP
             25
                                                         By: /s/ Aaron J. Fischer
             26                                              Aaron J. Fischer
             27
                                                         Attorneys for Plaintiffs
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[915695-1]
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                   PLS.’ APP. TO EXCEED PAGE LIMIT FOR REPLY ISO MOT. FOR ENFORCEMENT OF COURT ORDERS & AFFIRM.
                   RELIEF RE IMPROPER HOUSING & TREATMENT OF SERIOUSLY MENTALLY ILL PRISONERS IN SEGREGATION
